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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             NORTHERN DIVISION
                                 AT ASHLAND

CRIMINAL CASE NO. 15-15-DLB-EBA

UNITED STATES OF AMERICA                                                    PLAINTIFF


v.                                     ORDER


RICHARD E. PAULUS                                                         DEFENDANT

                                     **********

      On October 1, 2021, the Court held a Status Conference in this matter. The United

States was represented by Kate Smith and Paul McCaffrey. Defendant Richard E. Paulus

was represented by Hilary LoCicero, Robert Bennett, and David Mussetter.             The

proceedings were recorded by Official Court Reporter Lisa Wiesman.           During the

conference the Court discussed the scheduling of Defendant Paulus’s trial. The United

States also renewed orally its Motion to Move the trial to Covington, to which defense

counsel objected. The Court indicated that it would prepare questionnaires to be sent out

to prospective jurors, and upon receipt of the questionnaires, would decide the oral

motion. The United States also asked that the trial be designated as complex, to which

defense counsel consented. Accordingly,

      IT IS ORDERED as follows:

      (1)    Within ten (10) days of this Order, the parties shall file a joint notice of

proposed dates for Defendant Paulus’s trial;

      (2)    The United States’ oral Motion requesting that Defendant Paulus’s trial be

moved to Covington is taken under submission pending the receipt of jury

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questionnaires; and

       (3)     Due to the complex nature of this case, the Court finds that the time period

between today’s date and the actual trial date is excludable pursuant to 18 U.S.C. §§

3161(h)(7)(A)&(B).

       This 1st day of October, 2021.




TIC – 20 minutes

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